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Southern District of Texas
FILED
DEC 28 2018
UNITED STATES DISTRICT COURT i
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION Oye. Brasioy, Ciatk of Gourt

Antwan Henry §

Vv § 4:18-cv-04414

Carrington Mortgage Services, LLC, et al. §
PLAINTIFF’S RESPONSE TO [7] MOTION TO DISMISS

Plaintiff Antwan Henry responds to [7] Motion to Dismiss (titled “Dismissal Motion”)
filed by attorneys for CARRINGTON MORTGAGE SERVICES, LLC (“Carrington”) & THE
BANK OF NEW YORK MELLON, AS TRUSTEE (“BoNYM”).

As a threshold matter, on 11/9/2018 Carrington and BoNYM filed an Answer as
Document #7 in the Harris County Court (before the removal occurred on 11/20/2018), and
11/12/2018 Ditech and Greentree filed an Answer as Document #8 in the Harris County Court
(see this Court’s [1-3] Original Answer, page 8 for Carrington and BoNYM; page 11-14; also
this Court’s [1-1] Exhibit A to Notice of Removal, on page 2). By filing Answers they have
admitted that the Complaint sets forth a cause of action and states a claim upon which relief can
be granted, therefore they cannot now be heard to say that it does not. See U.S.C., Title 28,
[former] §45, substantially continued by F.R.C.P. Rule 12, which provides: “[O]bjections to the
sufficiency of the petition or answer as not setting forth a cause of action or defense must be
taken at the final hearing or by motion to dismiss the petition based on said grounds, which
motion may be made at any time before answer is filed.”

As a threshold matter, the Dismissal Motion is 18 days late. The Complaint was filed on
10/15/2018, and Carrington and Ditech were both served on 10/22/2018 (see [1-2] Exhibit A
Part 2, page 50 of 50, and [1-3] Exhibit A Part 3, page 2 of 14, respectively), and BoNYM was

served on 10/24/2018 (see [1-3] Exhibit A Part 3, page 4 of 14), and BoNYM as Trustee was

 

PLAINTIFF’S RESPONSE TO [7] MOTION TO DISMISS Page 1 of 6
. . OKI GIMAL
Case 4:18-cv-04414 Document 12 Filed on 12/28/18 in TXSD Page 2 of 6

served on 10/24/2018 (see [1-3] Exhibit A Part 3, page 6 of 14), meaning that any motion to

dismiss must be filed by 11/23/2018. The Dismissal Motion was filed on 12/11/2018--clearly

after the deadline. No Motion for Extension of Time was filed. The Dismissal Motion is
untimely.

None of the moving Defendants’ exhibits are authenticated.

Defendants’ factual statements are unsupported allegations.

The Motion refers to previous litigation but it does not say that any of that litigation
precludes the present litigation (“res judicata”) and in fact the previous litigation was not
concluded and does not preclude the present litigation.

Exhibit 11 is not recorded (it does not bear a recording stamp), and it bears a stamp
“UNOFFICIAL”. In addition, most of the Account Number is missing. A number of black
rectangles indicate that other, unknown information has been redacted. In addition, it does not
bear Plaintiff's signature.

The Motion states:

He asserts the hold-the-note and split-the-note theories.
The Complaint states:

163. None of the Defendants has ever owned, nor had an interest in nor been

entitled to enforce, any Promissory Note encumbering the Property.

Footnote 7 (page 15): “The ‘split-the-note’ theory is therefore inapplicable under

Texas law where the foreclosing party is a mortgage servicer and the mortgage

has been properly assigned. The party to foreclose need not possess the note itself.

Here, the mortgage was assigned to MERS, and then by MERS to BAC- the

assignment explicitly included the power to foreclose by the deed of trust. MERS

and BAC did not need to possess the note to foreclose.’’ Thus, to show a lack of

right to foreclose, a plaintiff must show both that the defendant is not a “person

entitled to enforce the note” AND that the defendant is not the beneficiary of the
deed of trust through assignments.

 

PLAINTIFF’S RESPONSE TO [7] MOTION TO DISMISS Page 2 of 6
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Case 4:18-cv-04414 Document 12 Filed on 12/28/18 in TXSD Page 3 of 6

The Complaint alleges that the defendant is not the beneficiary of the deed of trust through

assignments where it states:

146. The Assignment was purportedly signed by Swarupa Slee as Vice-President
of MERS (but NOT as Nominee for any party).

147. Swarupa Slee did not have authority to sign the Assignment.

148. At no time did any officer, employee or agent of MERS delegate to Swarupa
Slee the authority to sign the Assignment.

149. At no time did any officer, employee or agent of any principal of MERS
delegate to Swarupa Slee the authority to sign the Assignment.

150. Swarupa Slee did not read or sign the Assignment and did not know its
contents.

151. Swarupa Slee did not sign the Assignment; someone else did, using that
name.

The Motion states:
Mr. Henry’s attacks on MERS’s authority to assign the deed of trust fails as a
matter of law. The Fifth Circuit held MERS “qualifies as a mortgagee” under
Texas law. ...
However, this case is distinguished from others because here, MERS did NOT sign “as nominee”
but in its own capacity. In all cases cited, MERS signed “as nominee.”
The Motion states:
Mr. Henry pleads his basis for claiming title to the property is a general warranty
deed (pet. {{] 46-47) explicitly reciting he received title in consideration for the
proceeds of the loan (EX. 3 at 1). The court should disregard his assertions
regarding having “never borrowed money in a loan secured by the Property” (pet.
{| 2) as not plausible under the facts he pleads. His only basis for the quiet title
claim is defendants’ allegedly inferior title.
However, first, the Ex. 3 does not show a loan of money to Plaintiff. Second, the Ex. 3 was not

signed by Plaintiff.

The Motion states:

 

PLAINTIFF’S RESPONSE TO [7] MOTION TO DISMISS Page 3 of 6
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Case 4:18-cv-04414 Document 12 Filed on 12/28/18 in TXSD Page 4 of 6

Nothing in the language of chapter 51 requires a mortgagee or mortgage servicer
be the holder (or even owner) of the promissory note to exercise the power of sale
in a deed of trust. ... the party to foreclose need not possess the note).

However, this issue is covered by Footnote 7 (page 15) quoted above. The Complaint
alleges that the defendant is not a “person entitled to enforce the note” (which is broader than
“possess the note”) and that the defendant is not the beneficiary of the deed of trust through
assignments.

The Motion states:

Mr. Henry agreed MERS was the beneficiary when he signed the deed of trust
(EX. 2 at 1), and it assigned its rights to BoONYM (EX. 6). Nothing he alleges
plausibly puts the validity of the assignment in question.

However, the Ex. 2 does not bear Plaintiff's signature, and the Assignment is dealt with in the
Complaint in paragraphs 128 through 171.
The Motion states:

If Mr. Henry is correct that he “is not in default on any loan encumbering the
Property” (pet. {.87) then he has not pled facts from which to conclude defendants
are “debt collectors” under the Fair Debt Collection Practices Act. ... “The
legislative history of section 1692a(6) indicates conclusively that a debt collector
does not include the consumer’s creditors, a mortgage servicing company, or an
assignee of a debt, as long as the debt was not in default at the time it was
assigned.”

However, an attempt to collect a debt when no debt is owed, or no debt is owed to the party
claimed, is a violation of the FDCPA:

“This bill also protects people who do not owe money at all. In the collector’s
zeal, collection efforts are often aimed at the wrong person either because of
mistaken identity or mistaken facts.” House Report 95-131, 95th Cong., Ist Sess.,
p. 8. Accord, Senate Report No. 95-382, p. 4, reprinted at 1997 USCCAN 1695,
1699.

 

PLAINTIFF’S RESPONSE TO [7] MOTION TO DISMISS Page 4 of 6
VURLGIW Ke
Case 4:18-cv-04414 Document 12 Filed on 12/28/18 in TXSD Page 5 of 6

The FDCPA claim (Fifth Cause of Action) is against Carrington and Ditech. The Complaint
states at paragraph 6 that Carrington is not the loan servicer of any loan encumbering Plaintiffs
property.
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The Motion states:
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Mr. Henry pleads he owns the property but he does not state he occupies it as his
personal residence. ... FDCPA defines “debt” as “any obligation or alleged
obligation of a consumer to pay money arising out of a transaction in which the
money, property, insurance, or services which are the subject of the transaction
are primarily for personal, family, or household purposes . . . .”

However, the Complaint states:

315. The debt alleged by Defendants, at issue in this litigation, is covered as a
debt as defined 15 U . . C. 1692a (5), since it was incurred for the personal, family
or household purposes of the Plaintiff.

The Motion states:

The Harris County Appraisal District’s records reflect no homestead exemption.
(See EX. 16, “Exemption Type None” (emphasis in original).)

However, those records are in error.
Conclusion
The Complaint states claims upon which relief can be granted. The Motion should be
denied, or in the alternative, leave to amend should*be given, so that Plaintiff may supply any

possible missing allegations-as-discussed by the Motion (“He does not state ... He does not plead

... Without pleading some detail ...”)

DATED: 12/24/2018 /s/ Antwan Henry_
Antwan Henry

 

PLAINTIFF’S RESPONSE TO [7] MOTION TO DISMISS Page 5 of 6
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Case 4:18-cv-04414 Document 12 Filed on 12/28/18 in TXSD Page 6 of 6

CERTIFICATE OF SERVICE

- The undersigned hereby certifies that upon the date last written below I served a copy of the
- foregoing on each of the following parties by U.S. mail and/or or email:

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/s/ Date: / /2018
Person Serving Motion

 

PLAINTIFF’S RESPONSE TO [7] MOTION TO DISMISS Page 6 of 6
